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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:11-cv-01605-PAB-MEH

AURORA BANK FSB and AURORA LOAN SERVICES, LLC,
Plaintiffs,

V.

PMC BANCORP, f/k/a Professional Mortgage Corp.,
a California corporation; and DOES 1 through 50, inclusive,

Defendants.

 

SETTLEMENT AGREEMENT OF ALL PARTIES

 

Attached hereto is a signed Settlement Agreement executed by AURORA BANK, FSB,

AURORA LOAN SERVICES, LLC and PMC BANCORP.

THE WALKER LAWFIRM, APC

9)
/ Lf Miia /)
VN) 4,

Joseph A. Walker, #047223
1301 Dove Street, #720

Newport Beach, CA 92660
Telephone: (949) 752-2522

Email: jwalker@twlf.net
Attorneys for Defendant, PMC BANCORP

  

Dated: May 23, 2013 By:

 
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SETTLEMENT AGREEMENT WITH MUTUAL RELEASES

This Settlement Agreement with Mutual Releasps, including all exhibits attached :
hereto (collectively Agreement), is entered into thisZ2‘ day of 2013, by and between \j/(/
Lehman Brothers Bank FSB n/k/a Aurora Bank FSB and Aurora Loan Services LLC ¢
(collectively Aurora) and PMC Bancorp (PMC). Each of the foregoing parties is sometimes
referred to herein as a Party and collectively as the Parties.

RECITALS
A. Aurora and PMC are parties to multiple, specific residential mortgage loan
purchase agreements (LP As).
B, PMC sold numerous residential mortgage loans to Aurora under the LPAs.
C, A dispute has arisen between Aurora and PMC conceming whether PMC is

obligated under the LPAs to indemnify Aurora for losses arising from or relating to certain
mortgage loans purchased by Aurora from PMC.

D. In connection with the dispute, a lawsuit is pending between the Parties in the
United States District Court for the District of Colorado, captioned as Aurora Bank FSB and
Aurora Loan Services LLC v. PMC Bancorp jik/a Professional Mortgage Corp, and DOES 1
through 50, civil action no. 11-cv-01605-RBJ-MEH. The Lawsuit concerns certain
residential mortgage loans, identified therein. On June 20, 2012, Plaintiffs in the Lawsuit
filed a First Amended Complaint identifying three specific mortgage loans (the Lawsuit),

BE. On February 21, 2013, the Parties participated in a settlement conference
hefore Magistrate Judge Craig Shaffer, U.S. District Court for the District of Colorado, during
which the parties reached a Settlement. The terms of said settlement were memorialized on
the Court record (the Settlement), The transcript of the Settlement from the Court record is
attached hereto as Exhibit A (the Settlement Transcript) , and incorporated herein and made
a part hereof by reference. Should a conflict arise between the language of this Agreement
and the Settlement Transcript, the terms of the Settlement Transcript shall be binding.

NOW THEREFORE, in consideration of the promises, agreements, and mutual

covenants contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties agree as follows:

y

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ase 1:11-cv- - - Document 90 Filed 05/23/13 U olorado Page 30

 

AGREEMENT AND RELEASE

Section 1. Settlement Amount.

PMC hereby agrees to pay Aurora, via wire transfer of funds at Aurora's direction, the
total sum of One Hundred Fifty Thousand Dollars ($150,000.00) (the Settlement Amount)
within 60 days of execution of this Agreement.

Section 2, Dismissal of the Lawsuit.

No later than five (5) court days following the wire by PMC of the Settlement Amount
as set forth in Section 1, the Parties agree to file a Stipulation to Dismiss the Lawsuit with
prejudice, in the form attached hereto as Exhibit B. Each party is to bear its own attorneys’
fees and costs originating from or relating to the Lawsuit.

Section 3. Release by Aurora.
Aurora, for itself, as well as for its respective officers, directors, employees, agents,

successors, assigns, affiliates, members, managers and other representatives, hereby
completely, unconditionally, and forever releases, acquits, and discharges PMC as well as its
successors, assigns, members, managers, officers, directors, employees, agents, divisions,
affiliates, and other representatives with respect to any and all actions, causes of action,
claims, counterclaims, debts, demands, liabilities, losses, and damages relating to the Lawsuit.

Section 4. Release by PMC.

PMC, for itself, as well as for its successors, assigns, affiliates, members, managers,
officers, directors, employees, principals, agents, and other representatives hereby completely,
unconditionally, and forever release, acquit, and discharge Aurora, as well as its successors,
assigns, officers, directors, employees, agents, divisions, affiliates, and other representatives,
with respect to any and all actions, causes of action, claims, counterclaims, debts, demands,
liabilities, losses, and damages relating to the Lawsuit.

Section 5. No Third Party Beneficiaries.

It is specifically understood and agreed that the foregoing release shall not extend to or
be for the benefit of third parties unaffiliated with the Parties, including but not limited to
borrowers, appraisers, title companies, insurers, or others involved in the underlying mortgage
transactions, none of whom shall have any rights hereunder, including but not limited to rights
as a third party beneficiary.

Section 6. Release Conditions.

Nothing contained herein shall release, or otherwise discharge, or in any manner affect
any and all claims between the Parties that may exist, whether sounding in tort, contract, or
otherwise, that arise out of events, transactions, occurrences, or contracts relating to any loan
except for the Lawsuit.

Specifically, without limitation, it is understood and agreed that the releases,
acquittals, and discharges given herein shall only apply to the Lawsuit. It is mutually agreed
the releases provided herein shall not be effective until such time as PMC wires the
Settlement Amount, as set forth in Section 1 above.

(5-21-13) ~2- AURORA
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Section 7. Releases Valid Even If Additional or Different Facts.

The Parties acknowledge they may discover facts, which are additional to or different
from those, which they now know or believe to be true regarding the Lawsuit. Nonetheless, it
is the Parties’ intent to fully and finally compromise and settle all claims which exist between
them (but not against third parties) arising from or relating to the Lawsuit. To effectuate that
intention, the releases given herein shall be and shall remain full and complete releases
regarding the Lawsuit, notwithstanding the discovery of any additional or different facts by
any Party.

Section 8. No Release For Breach of This Agreement.
Nothing contained herein is intended to release any party hereto from any claims,
rights, or causes of action arising from or relating to a breach of this Agreement.

Section 9. Covenants Not to Suc.

The Parties covenant or otherwise promise they will not sue the other in any capacity
with respect to any claim arising from the Lawsuit, or seek damages, contribution, or
indemnity from the other based on the Lawsuit.

Section 10. Further Assurances.

The Parties agree to execute and deliver such documents and perform such other acts,
promptly upon request by the other Party, as may be reasonably necessary or appropriate to
effectuate the purposes of this Agreement.

Section 11, Governing Law/Jurisdiction And Venue.

This Agreement shall be governed by and construed under the laws of the State of
New York. In the event of litigation arising from or relating to this Agreement, the Parties
agree venue shall be proper in the District of Colorado, and that the Settlement Court shall
retain jurisdiction to hear any such disputes. The Parties hereby consent to the Jurisdiction of
said court in the event of such litigation,

Section 12. Voluntary Agreement.
The Parties acknowledge they have had a full and fair opportunity to consult with

legal counsel of their own choosing throughout all negotiations, which preceded the execution
of this Agreement, and in connection with their execution of this Agreement. The Parties
tepresent they have read this Agreement, understand it, voluntarily agree to its terms, and sign
it freely.

Section 13. Entire, Integrated Agreement.

This Agreement and Settlement Transcript constitute the entire integrated settlement
between the Parties and contain the sole and entire agreement of the Parties regarding their
dispute concerning the Lawsuit. This Agreement and the Settlement Transcript supersede and
replace all prior negotiations, proposed agreements, and agreements conceming the Lawsuit.
The Parties acknowledge that no Party and no agent, representative, or attorney of any Party
has made any promise or representation whatsoever, express or implied, concerning the
subject matter of this Agreement (or to induce the execution of this Agreement) which is not
expressly set forth herein. Amendment or modification of this Agreement must be set forth in
a writing signed by all Parties. If there is a dispute or ambiguity between this Agreement and
the Settlement Transcript, the Settlement Transcript shall be binding.

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Section 14. Time Is of The Essence.

The Parties acknowledge time is of the essence under this Agreement, including but
not limited to payment of the Settlement Amount and filing of the stipulated dismissal, as set
forth in Sections 1 and 2, respectively.

Section 15. Denial of Wrongdoing or Liability.

This Agreement is entered into solely for purpose of effectuating a settlement and
release. Accordingly, except as set forth herein, each Party acknowledges the other has
admitted no fault, wrongdoing, liability, obligation, or admission of any facts, contentions, or
allegations set forth in the Lawsuit. In fact, each Party denies any and all such fault,
wrongdoing, liability, obligation, or allegation set forth in the Lawsuit.

Section 16. Severability of Provisions.

Every provision of this Agreement is intended to be severable. Accordingly, should
any provision be declared illegal, invalid, or otherwise unenforceable by a court of competent
jurisdiction, such illegality, invalidity, or unenforceability shall not effect the remaining
provisions, which shall remain fully valid, binding, and enforceable.

Section 17. Indulgences; No Waivers.
Neither the failure nor any delay on the part of a Party to exercise any right, remedy,

power, or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial
exercise of any right, remedy, power, or privilege preclude other or further exercise of the
same or any other night, remedy, power, or privilege, nor shall any waiver of any right,
remedy, power, or privilege with respect to any occurrence be construed as a waiver of such
right, remedy, power, or privilege with respect to any other occurrence. No waiver shall be
effective unless it is in writing and is signed by the Party asserted to have granted such
waiver,

Section 18. Headings Not to Affect Interpretation.

The headings contained in this Agreement are for convenience and reference purposes
only, and shall not in any way be construed as effecting the meaning or interpretation of the
text of this Agreement.

Section 19. No Drafting Party.
No party shall be deemed the “drafting party” of this Agreement. Consequently, this

Agreement shall be construed as a whole, according to its fair meaning and intent, and not
strictly construed for or against any party hereto.

Section 20. Successors and Assigns.
This Agreement shall be binding in all respects upon and inure to the benefit of the

Parties, as well as their respective successors and assigns.

Section 21. Authority.

Each person executing this Agreement on behalf of a Party represents and warrants
that he or she has received all necessary power and authority to do so.

(5-21-13) -4- AURORA
PMC
Case 1:11-cv-01605-RBJ-MEH Document 90 Filed 05/23/13 USDC Colorado Page 6 of 19

 

Section 22. Counterparts.

This Agreement may be executed in counterparts, each of which shall be deemed an
original, and all of which taken together shall constitute one and the same instrument. Each
Party shall provide to the other Party an originally executed copy of this Agreement.

Section 23. Qwnership Of Claims.
The Parties represent they have not assigned or otherwise transferred, to any person or

entity, any claim, or any portion thereof, arising from or related to the Lawsuit released
herein. The Parties represent they are the real party in interest to pursue their respective
claims in the matters described in this Agreement, and further represent there are no other
persons with liens or rights of subrogation arising from or related to the claims released
herein.

Section 24. Attorneys Fees/Costs. The Parties shall each bear all of their own
attorneys’ fees and costs related to the Lawsuit.

IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
executed as of the date first set forth above.

AURORA BANK FSB

Signature: OU A_. Dated May 3 2013
py. OPhawie Chwara_

 

Title. S Up

 

Dated May 23 , 2013

 

 

 

PMC BANCORP

Signature: G ie

By: Constantine Cafcalas

 

Dated May 21, 2013

Title: Executive Managing Director

(5-21-13 -5- AURORA #R we

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APPROVED AS TO FORM AND CONTENT:

Dated: May __, 2013 AKERMAN SENTEREITT, LLP’

 

 

Christopher P. Carrington
Attorneys for Aurora Bank FSB and
Aurora Loan Services LLC

Dated: May |, 2013 THE WALKER LAW FIRM, PC

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tod

  

 

J oseph A. Walker?
Attorneys for PMC Bancorp

(S-2 t+} 3) ~6- AURORA !

PMC
Case 1:11-cv-01605-RBJ-MEH Document 90 Filed 05/23/13 USDC Colorado Page 8 of 19

APPROVED AS TO FORM AND CONTENT:

\ 99
* Dated: May /_, 2013
ne,
B y: \ Vi “
Christopher P. Carrington
Attorneys for Aurora Bank FSB and
Aurora Loan Services LLC

 

AKERMAN SENTERFITT, LLP’

Dated: May _ | , 2013 THE WALKER LAW FIRM, PC
. ee ; vf &
AH
By: PEL id f

 

Joseph A. Walker *~
Attorneys for PMC Bancorp

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EXHIBIT A
[SETTLEMENT TRANSCRIPT]

  

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i IN THE UNITED STATES DISTRICT COURT

NO

FOR THE DISTRICT OF COLORADO

Case Ne, 1ll-cv-01605-RBJ-MEH

 

 

 

 

 

q

3 AJRORA BANK FSB, et al.,

6 Plaintiffs,

7 vs.

8 PMC BANCORP,

a Defendant.

16

Lt Proceedings before CRAIG B. SHAFFER, United States
qe Magistrate Judge, United States District Court for the
3 District of Colorado, commencing at 2:12 p.m.,. February 21,
14 4012, in the United States Courthouse, Denver, Colorado.

5

16 WHEREUPON, THE ELECTRONICALLY RECORDED PROCEERDINGS
17 ARE HEREIN TYPOGRAPHTCALLY TRANSCRIBED...

16
i9 APPEARANCES
20 CHRISTOPHER CARRINGTON, Attorney at Law, appearing
2h for the plaintiffs.
22 JOSEPH WALKER; Attorney at baw;-appearing for-the--
23 dafendant.
2d
“25 SETTLEMENT PLACED ON THE RECORD - SEALED

AVERY/WOODS REPORTING SERVICE, INC.
455 SHERMAN STREET, SUITE 250, DENVER, CO 80203
303-825-6119 FAX 303-893-8305
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2
1 PROCEEDINGS
2 (Whereupon, the within electronically recorded
3 proceedings are herein transcribed, pursvant to order of
4 counsel.)

oy

THE COURT: All right, we are on the record, This

6 is ll-cv-1605, Aurora Bank FSB, et al., versus PMC Bancorp.

~J

The parties are nere today for a settlement conference. I

& have spoken to the parties collectively, and then I have met
9 with each side individually. ‘Based upon my discussions,
26 it’s my understanding that the parties have reached a
Li settlement,

12 And so as I told you all when we were off the
3 record, -!m going to summarize the terms.of. the settlement...
4 To the extent that I either miss -- misrepresent the terms
~5 cr IT omit a term, let me know and we’ll clear them up. And
16 once we get the terms, the principal terms on the record to
1? everyone’s “satisfaction; I’ II ask the parties if they’ re”
1& prepared to settle on those terms.

19 So here is what I understand the settlement to be,
20 It is my understanding that plaintiff -- or plaintiffs
é1 peural -- have agreed to dismiss the claims in this case
22 7 wrth prejudice; whitch means ~these-claims’-and-any~matters ~
23 with respect to these loans are forever resolved. In return
24 for dismissing this lawsuit and these two claims with
25 prejudice, PMC agrees that it will pay to plaintiffs the

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put if there's something I’ve missed, let me know, |

3
tLatal amount of $150,000. Payment of the $150,000 must be
completed within 60 days of executing the settlement
agreement. As part of. the settlement, each side agrees that
tney will bear their own fees and costs, so the total amount
to be paid is $150,000. .

I think it should be. implicit, but I want to make
it clear. In connection with dismissing this lawsuit with
prejudice, the parties are also going to release each other
from any and all claims they have or could have had relating
Lo these two loans. So essentially there will be no further
litagation about these loans, either in this case or some
other case. And, I think, that’s the complete settlement,

MR. CARRINGTON: One term, Your Honor, was that
we'd have -- receive a draft within two weeks from tomorrow.

THE COURT: Oh, okay, that’s something you guys
Abscusseds ~thatte een

MR. CARRINGTON: Oh, okay.

MR. WALKER: It’s net part of the agreement.

And then che -- remember, we had the discussion
that when PMC makes its payment, it will pay at the
plaintiffs © -dbreettom pen on

THE COURT: Right. Okay.

Now, I think that’s fine, so are there any other

provisions that we have missed or omitted?

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4
i MR. WALKER: Your Honor, may I ask (inaudible) a
2 question?
3 THE COURT: Sure.
4 MR. WALKER: A point of clarification.
5 THE COURT: Right.
6 MR. WALKER: We're paying -- not we, the bank,
7 defendant bank is paying the money in full settlement of
§ this action being dismissed with prejudice, is that the
9 aqreement?
me THE COURT: Right.
id MR. WALKER: Thank you.
2 THE COURT: Now, let me raise just one other
13 qQuestion.....As.lsaid,..once._™we..have.a sertlement..on the .....
4 secord, you folks have, for all intents and purposes, an
15 enforceable deal. Normally what I would do is I would at
16 the conclusion specify a date certain by which you will file
Le a stipulated Motion to Dismiss y” “Now, “iE yourve “got “two
16 weeks to prepare a draft, two weeks from today’s date would
Lo get you to March 7th. . - oo
20 Now, you tell me, because I don’t have strong
2] feelings about this one way or the other. Was it your
22 expectation’or understanding’ that™the stipubated’Motion to
23 Dismiss would not be filed until the 60-day period had run,
24 or was it your intention to file a stipulated Motion to
Z§& Dismiss? Tell me what you had in mind.

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5
1 MR. CARRINGTON: Well, if the agreement is that
2 they'll pay within 60 days of the settlement, I think I’d
2 prefer to file it as soon as payment’s received.
4 THE COURT: In other words, so basically --
5 MR. CARRINGTON: 60 days or less.
G THE COURT: ~~ what you would do is just
7 hypothetically -~- let’s say, for instanoe, you get a draft
8 no them by March 7th and let’s say the settlement agreement
g is signed by March 14th, that means payment would have to be
iC received on or before May 14th, and then you're proposing
i you would file the stipulated Motion to Dismiss shortly
we thereafter.
na ooo ow ven MB. CARRINGTON: Correct... Your Honor......We could put
14 in a provision within five business days of receipt of
LS payment or something like that.
16 THE COURT: Any problem with that, Counsel?
m7 / “MRT WALKER: NG pROBTewI OO
18 THE COURT: Okay, All right. So why don’t we do
19 this: Well, based upon those principal terms, let me ask
2g the representative for Aurora. Are you -- is your client
2] prepared to settle on those terms?
22 oss UN EDENPEPIED SPEAKER? ‘Yesy~Your-Honor ‘thank-you:
ea THE COURT: And you -- and you have spoken to your
24 client and you have authority to do that?

UNIDENTIFIED SPEAKER: I have, yes, Your Honor.

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6
4d THE COURT: And is the defendant prepared to settle
2 an those terms?

3 MR. WALKER: Mr. Cafcalas?

4 MR. CAFCALAS: Yes, Your Honor, we are.

5 THE COURT: Okay. Now, I will report to Judge
6 vackson that you've reached a settlement. [/'11 requiré that
7 the parties exchange a draft of the proposed settlement
@ agreement within two weeks of today’s date. I will also
g direct that the parties notify my chambers, and you just -~
1c gentlemen, put together a conference call, notify my
14 chambers when you have a signed settlement agreement so we
LZ can just sort of mentally tickle this process.

13 wove MB CARRINGTONS OK BY 2 one nnnmn ce ees cone ties tt eee
14 TRE COURT: and I think we’re good, unless somebody
5 has something else they want to talk about.

16 Iwill go from here, I will talk to Judge Jackson.

17 7 Twill “advise Aim “that” we’ ve “reached a SSteTenént; tha
1&8 parties have memorialized the settlement on the record, and
19 that based upon that I think he has -- or should have
20 complete confidence in vacating your trial date, and I’m
Zl assuming, counsel, you share in my confidence.

De en oe een nnn MR CARRINGTON: -I-do;~and F-agree- with thatr Yours
23 Honor, and so do we need to file a notice of settlement?
£4 THE COURT: No,

25 MR. CARRINGTON: Okay.

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7

1 THE COURT: Just all you need to do is file a
2 stipulated Motion to Dismiss, and I'll simply -- and we'll
3 just agree that the stipulated Motion to Dismiss will be
4 filed within five day business days of receipt of payment.
5 MR. WALKER: Okay, one last point.
6 THE COURT: Sure.
7 MR. WALKER: If there is some -- for some
§ unforeseen reason an inability to agree on the wording of
9 the settlement agreement, could --

19 THE COURT: Pick up the phone and call me.

1° MR. WALKER; Thank you.

Lz MR. CARRINGTON: Okay.

13 - TRE COURT :..Okayw. Thanks ,..fOUK Soo cee es ens nme pune vee
~4 MR. CARRINGTON : Thank you, Your Honor.

5 MR. WALKER: Thank you very much for your time.

LE THE COURT: You got it.

7 oR AIRE ONG H that we all know é@ach “other? ~
18 (Whereupon, the within hearing was then in

i9 conclusion at 2:19 p.m. on February 21, 2013.)

20 I certify that the foregoing is a correct

21 transcript, to the best of my knowledge and belief, from the

22 record of proceedings im the above-entitted matters sc

23 |

24 /s/ Bonnie Nikolas February 28, 2013

25

Signature of Transcriber Date

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ase 1:11-cv-01605-RBJ-MEH Document 90 File olorado Page 1/ of 19

 

EXHIBIT B
[STIPULATION TO Dismiss LAWSUIT}

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PMC
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Civil Action No. 11-cv-01605-RBJ-MEH
AURORA BANK FSB and AURORA LOAN SERVICES LLC
Plaintiffs,
Vv.

PMC BANCORP, f/k/a Professional Mortgage Corp., 7
a California corporation; and DOES 1 through 50, inclusive.

Defendants.

STIPULATION TO DISMISS ACTION WITH PREJUDICE PURSUANT TO
FED. R. CIV. P, 41

 

 

Plaintiffs Aurora Bank FSB, f/k/a Lehman Brothers Bank, FSB, and Aurora Loan
Services, LLC (collectively, Aurora), and PMC Bancorp (PMC) hereby submit the Parties' joint
stipulation to dismiss the above-captioned action with prejudice pursuant to FED. R. Cry, P.
41 (aj (A)Gi).

RECITALS

L. On or about June 17, 2011, Aurora filed a Complaint against PMC.

2. On or about July 18, 2011, PMC filed its Answer to the Complaint,
3, On or about June 20, 2012, Aurora filed its First Amended Complaint.
4, Subsequent thereto, on February 21, 2013, the Parties reached a settlement after

attending a settlement conference before the Honorable Magistrate Judge Shaffer.

a

The Parties have memorialized and executed a settlement agreement.

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STIPULATION TO DISMISS ACTION WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41
ase 1:11-cv-01605-RBJ-ME ocument le olorado Page 19 of 19

 

STIPULATION
Aurora and PMC, through their respective counsel, jointly stipulate and request that the

Court disnnss the above-captioned action with prejudice and close the case.

Dated this day of April, 2013. Respectfully submitted,

By: /s/ Christopher P. Carrington
Christopher Carrington
AKERMAN SENTERFITT LLP
Aitorneys for Plaintiffs

  

By:
Joseph Ay Walker,

WALKER LAW FIRM, APC
Attorneys for Defendant

STIPULATION TO DISMISS ACTION WITH PREJUDICE PURSUANT TO FED R, CIV. P. 41
